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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF KENTUCKY
                                    LOUISVILLE DIVISION

                                        Filed Electronically


  KEMARI AVERETT

                               PLAINTIFF


  v.                                                           CASE NO. 3:19-CV-116-BJB-RSE




  SHIRLEY ANN HARDY, et al.,

                               DEFENDANTS


         _____________________________________________________________


                                     NOTICE OF SERVICE


                                        **********

         Defendant/Counterclaimant Destinee Coleman (“Coleman”), by and through counsel, and

  pursuant to Rule 5 of the Federal Rules of Civil Procedure, hereby gives notice that Destinee

  Coleman has served, by electronic mail on January 31, 2022, a copy of the following:

            Destinee Coleman’s      Supplemental    Answers      and   Responses   to   Plaintiff’s
             Interrogatories.




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                                            Respectfully submitted,

                                            /s/ Jeremiah A. Byrne
                                            Jeremiah A. Byrne
                                            D. Christopher Robinson
                                            Casey Wood Hensley
                                            Frost Brown Todd LLC
                                            400 W. Market St., 32nd Floor
                                            Louisville, KY 40202
                                            jbyrne@fbtlaw.com
                                            crobinson@fbtlaw.com
                                            chensley@fbtlaw.com


                                            Beth Kinney-Robinson
                                            Legal Aid Society of Louisville
                                            416 W. Muhammad Ali Blvd.
                                            Suite 300
                                            Louisville, KY 40202
                                            Brobinson-kinney@laslou.org

                                            and


                                            Georgia Connally
                                            Connally Law Offices
                                            Louisville, KY 40206
                                            georgia@connallylawoffices.com

                                            Counsel for Defendant/Counterclaimant
                                            Destinee Coleman




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                                     CERTIFICATE OF SERVICE

          I hereby certify that a true and accurate copy of the foregoing was filed via the Court’s E-
  Filing System, which will send copies to registered users this 31 st day of January, 2022. I also
  hereby certify that a true and accurate copy of the foregoing was served via electronic mail this
  31st day of January, 2022 to the following:

   Donna King Perry                                    Aubrey Williams
   Matthew Barszcz                                     One Riverfront Plaza
   Dinsmore & Shohl LLC                                402 W. Main St., Suite 1708
   101 S. Fifth St., Suite 2500                        Louisville, KY 40202
   Louisville, KY 40202                                aubreyw8243@bellsouth.net
   donna.perry@dinsmore.com                            Counsel for Plaintiff/Counterclaim Defendant
   matthew.barszcz@dinsmore.com                        Kemari Averett
   Counsel for Shirley Ann Hardy


                                                         /s/ Jeremiah A. Byrne
                                                         Counsel for Defendant/Counterclaimant
                                                         Destinee Coleman




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